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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR11-365-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   KARNAIL SINGH,                       )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Smuggle, Harbor, and Transport Illegal Aliens; Harboring

15 Illegal Aliens within the United States; Transporting Illegal Aliens within the United States

16 Date of Detention Hearing:     December 6, 2011.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably

20 assure the appearance of defendant as required and the safety of other persons and the

21 community.

22 / / /



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01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.      Defendant is a naturalized citizen of the United States. He has family members

03 who reside in the United States, Canada, and India.

04          2.      The government alleges the defendant played a central role in what it describes

05 as a broad ranging conspiracy smuggle illegal aliens into this country, providing them with

06 false identification documents, and transporting them to other locations in the United States.

07 The government alleges the involvement of defendant and others in smuggling more than 70

08 aliens from India, Korea and Pakistan as part of a large international network. Defendant is

09 alleged to have used a motel owned by him in SeaTac for housing aliens before their transport

10 to other locations, while they waited for him to procure drivers licenses for them. The

11 government alleges that defendant controlled the activity of other criminal participants and took

12 steps to assure that other participants did not talk to law enforcement, while recruiting others to

13 participate in the conspiracy.

14          3.      The AUSA alleges that the vast majority of transactions relating to the

15 defendant’s motel were in cash. He also owns other property in the State of Washington, as

16 well as property in India. He is a member of a local Sikh temple, which the AUSA alleges is

17 also under investigation.

18          4.      Defendant poses a risk of nonappearance based on family ties to India and

19 Canada, some unverified financial information, the possibility that the defendant may have

20 unknown reserves of cash, and the nature of the instant charges. He poses a risk of danger due

21 to the nature of the instant offense.

22          5.      There does not appear to be any condition or combination of conditions that will



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01 reasonably assure the defendant’s appearance at future Court hearings while addressing the

02 danger to other persons or the community.

03 It is therefore ORDERED:

04     1. Defendant shall be detained pending trial and committed to the custody of the Attorney

05         General for confinement in a correction facility separate, to the extent practicable, from

06         persons awaiting or serving sentences or being held in custody pending appeal;

07     2. Defendant shall be afforded reasonable opportunity for private consultation with

08         counsel;

09     3. On order of the United States or on request of an attorney for the Government, the

10         person in charge of the corrections facility in which defendant is confined shall deliver

11         the defendant to a United States Marshal for the purpose of an appearance in connection

12         with a court proceeding; and

13     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

14         for the defendant, to the United States Marshal, and to the United State Pretrial Services

15         Officer.

16         DATED this 6th day of December, 2011.

17

18                                                       A
                                                         Mary Alice Theiler
19                                                       United States Magistrate Judge

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